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 6
                        IN THE UNITED STATES DISTRICT COURT
 7
                                DISTRICT OF NEVADA
 8

 9
     UNITED STATES OF AMERICA,              Case No. 2:08-cr-00178-PMP (RJJ)
                                            (The Honorable Philip M. Pro)
10
           Plaintiff,
                                            [Proposed] Order for Scheduling of
11
     vs.                                    Hearing Dates

12
     JOSEPH MANFREDONIA,                    (Stipulation Filed Concurrently
                                            Herewith)
13
           Defendant.
                                            Old Competency Hearing Date:
14
                                            August 20, 2010

15
                                            New Plea Hearing Date:
                                            September 13, 2010
16
                                            Time: 10:00 a.m.

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                                            Filed: June 11, 2008

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 1
     TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2
           Having reviewed the Stipulation for Scheduling of Hearing Dates (the
 3
     “Hearing”) filed by Plaintiff UNITED STATES OF AMERICA (“Plaintiff”), on
 4
     the one hand, and Defendant JOSEPH MANFREDONIA (“Defendant”), the Court
 5
     hereby ORDERS that:
 6
           1.    The Competency Hearing scheduled for August 20, 2010 shall be
 7
     taken off calendar; and
 8
           2.    The Change of Plea Hearing shall be scheduled for September 13,
 9
     2010 at 10:00 a.m. in Courtroom 7c; and
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           3.    It is further ORDERED:
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     _________________________________________________________________.
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13                                              ___________________________
14
                                                The Honorable Philip M. Pro,
                                                U.S. District Court Judge
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                                                DATED: August 19, 2010.
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                                                 [PROPOSED] Order for Scheduling of
     3216.001                                              Hearing Dates
                                       -2-
